Case 2:01-cr-20085-BBD   Document 385   Filed 06/08/05   Page 1 of 6   PageID 431
Case 2:01-cr-20085-BBD   Document 385   Filed 06/08/05   Page 2 of 6   PageID 432
Case 2:01-cr-20085-BBD   Document 385   Filed 06/08/05   Page 3 of 6   PageID 433
Case 2:01-cr-20085-BBD   Document 385   Filed 06/08/05   Page 4 of 6   PageID 434
Case 2:01-cr-20085-BBD   Document 385   Filed 06/08/05   Page 5 of 6   PageID 435
Case 2:01-cr-20085-BBD   Document 385   Filed 06/08/05   Page 6 of 6   PageID 436
